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                Exhibit A
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Jennifer Connolly

From:                                  Donald E. Haviland, Jr. Esq <Haviland@HavilandHughes.com>
Sent:                                  Monday, June 20, 2011 12:18 PM
To:                                    Jennifer Connolly
Cc:                                    Carrie Flexer
Subject:                               RE: AWP - Reply brief in support of motion to add T2 plaintiffs


Ms. Connally,
We have to oppose your request for the following three (3) reasons: (1) we were given one day less than the 14
days the Rules allow to file our opposition brief – an extreme burden to my firm; (2) replies are not permitted
under the Local Rules as a matter of course, and (3) the Court could not have been clearer that the delays in this
case have to come to an end. See below from the June 13 transcript at p83:

“As far as I'm concerned, the oppositions
12 to the motions to amend should come in tomorrow or they're
13 untimely. And they have to be within the page limit, within
14 the page limit, no 70-page briefs. Any replies to any of this
15 should come in within seven days afterwards because I've got to
16 move this thing.”

Because you’ve provided no reason for the requested extension, we oppose.

From: Jennifer Connolly [mailto:jenniferc@hbsslaw.com]
Sent: Monday, June 20, 2011 12:03 PM
To: Donald E. Haviland, Jr. Esq (Haviland@HavilandHughes.com)
Cc: Carrie Flexer
Subject: AWP - Reply brief in support of motion to add T2 plaintiffs

Don –

We require a short extension of time to file our reply brief in support of our motion to add Track Two plaintiffs. We would
like until Friday, June 24. Please let me know if you will oppose our request.

Thanks –
Jennifer

Jennifer Fountain Connolly | Of Counsel
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